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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )              Case No. 8:06CR-116
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )                    ORDER
CHARMAR BROWN,                              )
                                            )
                    Defendant.              )


      This matter is before the court on the Motion to Withdraw (#940) filed by Tracy

Hightower-Henne, counsel for defendant Charmar Brown. The court finds the motion should

be granted.

      IT IS ORDERED:

      1. The Motion to Withdraw (#940) is granted and counsel's representation of

defendant is concluded.

      2. The Clerk's office shall mail a copy of this Order to defendant Charmar Brown at

his last known address.

      Dated this 27th day of March 2014.

                                        BY THE COURT:


                                        s/ F.A. Gossett, III
                                        United States Magistrate Judge
